            Case 1:19-cr-00142-LM Document 171 Filed 01/21/22 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE


UNITED STATES OF AMERICA                     )
                                             )
                v.                           )                      No. 1: 19-cr-00142-LM
                                             )
NATHAN CRAIGUE                               )



                      GOVERNMENT’S NOTICE OF FILING REDACTED
                     COURT FILINGS AND TRANSCRIPTS PURSUANT TO
                        COURT ORDER ENTERED JANUARY 14, 2022


       Please take notice that, the United States of America, by John J. Farley, United States

Attorney for the District of New Hampshire, and Assistant United States Attorneys John S. Davis

and Aaron G. Gingrande, provide the following redacted court filings and transcripts, filed

herewith:



 Exhibit     Document                                                             Docket Number
 1           2021.06.07 Status Conference Transcript (afternoon)                  152
 2           2021.06.08 Trial Transcript (Day 2 afternoon)                        151
 3           2021.06.09 Trial Transcript (Day 3 morning)                          145
 4           2021.06.10 Chambers Conference Transcript                            142
 5           2021.06.10 Chambers Conference Transcript                            150
 6           2021.06.10 Detective Carroll Interview Memo                          134-1
 7           2021.06.10 Status Conference Transcript                              136 and 137
 8           2021.06.10 Trial Transcript (Day 4 afternoon)                        139
 9           2021.06.10 Trial Transcript (Day 4 morning)                          138, 148 and 153
 10          2021.06.11 Trial Transcript (Day 5)                                  140, 141 and 154
 11          2021.06.15 Def's Motion for Protective Order and Exhibits 1 and 2    134
 12          2021.06.15 Govt's Motion for Protective Order                        132
 13          2021.08.20 Assented-to Motion to Further Redact Transcripts          146
 14          2021.10.09 Partially Assented-To Motion to Seal Supplemental         158
             Response to Motion to Intervene
         Case 1:19-cr-00142-LM Document 171 Filed 01/21/22 Page 2 of 2




 15       2021.10.09 Sealed Supplemental Response to Motion to Intervene   157, Attachments 1
                                                                           through 5
 16       2021.11.15 Hearing Transcript                                    161


                                                Respectfully submitted,

                                                JOHN J. FARLEY
                                                United States Attorney

Dated: January 21, 2021                   By: /s/ John S. Davis
                                                 John S. Davis
                                                 Aaron G. Gingrande
                                                 Assistant U.S. Attorneys
                                                 District of New Hampshire
                                                 53 Pleasant Street, 4th Floor
                                                 Concord, New Hampshire 03301
                                                 603-225-1552
